

On Remand from the Alabama Supreme Court

PITTMAN, Judge.
On June 30, 2010, the Alabama Supreme Court issued an opinion quashing its writ of certiorari in this cause. Ex parte N.B., 66 So.3d 249 (Ala.2010). In that opinion, the Alabama Supreme Court, reasoning that there existed no justiciable controversy in the juvenile court, directed this court to vacate our judgment in this appeal and to dismiss the appeal with instructions to the Houston Juvenile Court similarly compelling vacatur. In compliance with the mandate of the Alabama Supreme Court, we now vacate our judgment and dismiss the appeal with instructions that the juvenile court’s orders and judgments forming the basis for this appeal be vacated.
JUDGMENT VACATED; APPEAL DISMISSED WITH INSTRUCTIONS.
THOMPSON, P.J., and BRYAN, THOMAS, and MOORE, JJ., concur.
